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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN

EDWARD J. HOLLAND, JR.,                 )
                                        )      Case No. 2:17-cv-13926-MOB-MKM
              Plaintiff,                )      Hon. Marianne O. Battani
                                        )
v.                                      )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
              Defendant.                )
                                        )

                          PLAINTIFF’S RESPONSE TO
                      GOVERNMENT’S MOTION TO DISMISS
                                 AND BRIEF

       Plaintiff, Edward Holland, Jr., responds to the Government’s Motion to Dismiss as

stated in the attached Brief.

Date: March 5, 2018



                                             Respectfully submitted,

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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN

EDWARD J. HOLLAND, JR.,                 )
                                        )         Case No. 2:17-cv-13926-MOB-MKM
            Plaintiff,                  )         Hon. Marianne O. Battani
                                        )
v.                                      )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
            Defendant.                  )
                                        )

     PLAINTIFF’S BRIEF IN SUPPORT OF ITS RESPONSE TO THE
                    GOVERNMENT’S MOTION TO DISMISS

                         Concise Statement of Issues Presented


                                        Issue I

                   Whether Plaintiff’s Complaint satisfies the
                   jurisdictional requirement of irreparable
                   injury since plaintiff has no other remedy for
                   the unlawful seizure of all of his future
                   social security benefits?
                                       Issue II


                   Whether Plaintiff’s Complaint satisfies the
                   jurisdictional    requirement    that    the
                   government will ultimately not prevail on
                   the issue of whether the Internal Revenue
                   Service may serve a single notice of levy to
                   collect all of Plaintiff’s future Social
                   Security benefits?
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                    Controlling or Most Appropriate Authority For
                       The Relief Sought (Emphasis Added)

                                         Cases

                    On the issue of obtaining an injunction when
                    a plaintiff has no other remedy, the Supreme
                    Court has repeatedly held that the anti-
                    injunction provision of §7421 does not
                    prevent jurisdiction. C. I. R. v. Shapiro, 424
                    U.S. 614, 629 (1976). Laing v. United States,
                    423 U.S. 161, 210 (1976). Bob Jones Univ. v.
                    Simon, 416 U.S. 725, 746, (1974). South
                    Carolina v. Regan, 465 U.S. 367, 378 (1984).
                    (discussed under Jurisdiction at p. 5 herein.)
                    Plaintiff has no other remedy.


                    There is no controlling case law on the issue
                    of the IRS seizing 100% of monthly Social
                    Security benefits. There is no Sixth Circuit
                    precedent on the issue of a single notice of
                    levy talking 100% of future social security
                    benefits contrary to 26 U.S.C. §6331(h).
                    There are four district court cases which
                    allow it (Government Brief Dkt# p. 7). One
                    bankruptcy court case relied on the statutory
                    committee reports and applied the 15%
                    limitation under §6331(h) (Anderson at p. 16
                    herein). One unpublished non-precedential
                    Seventh      Circuit     decision    indirectly
                    referenced the district court cases on a
                    jurisdictional issue. (Bowers at p. 15 herein)

                              Statutes (emphasis added)

      26 U.S.C. §6331. Levy and Distraint (a) Authority of Secretary. If any person
      liable to pay any tax neglects or refuses to pay the same within 10 days after notice
      and demand, it shall be lawful for the Secretary to collect such tax (and such
      further sum as shall be sufficient to cover the expenses of the levy) by levy upon
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      all property and rights to property (except such property as is exempt under
      section 6334) belonging to such person or on which there is a lien provided in this
      chapter for the payment of such tax. Levy may be made upon the accrued salary or
      wages of any officer, employee, or elected official, of the United States, the
      District of Columbia, or any agency or instrumentality of the United States or the
      District of Columbia, by serving a notice of levy on the employer (as defined in
      section 3401(d)) of such officer, employee, or elected official. If the Secretary
      makes a finding that the collection of such tax is in jeopardy, notice and demand
      for immediate payment of such tax may be made by the Secretary and, upon
      failure or refusal to pay such tax, collection thereof by levy shall be lawful without
      regard to the 10-day period provided in this section.


      §6331(b) Seizure and Sale of Property. The term “levy” as used in this title
      includes the power of distraint and seizure by any means. Except as otherwise
      provided in subsection (e), a levy shall extend only to property possessed and
      obligations existing at the time thereof. In any case in which the Secretary may
      levy upon property or rights to property, he may seize and sell such property or
      rights to property (whether real or personal, tangible or intangible).


      §6331(h) Continuing Levy on Certain Payments. 6331(h)(1) In General. If the
      Secretary approves a levy under this subsection, the effect of such levy on
      specified payments to or received by a taxpayer shall be continuous from the date
      such levy is first made until such levy is released. Notwithstanding section 6334,
      such continuous levy shall attach to up to 15 percent of any specified payment
      due to the taxpayer.


             6331(h)(2) Specified Payment. For the purposes of paragraph (1), the term
             “specified payment” means:

             6331(h)(2)(A) any Federal payment other than a payment for which
             eligibility is based on the income or assets (or both) of a payee,

             6331(h)(2)(B) any payment described in paragraph (4), (7), (9), or (11) of
             section

             6334(a), and


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             6331(h)(2)(C) any annuity or pension payment under the Railroad
             Retirement Act or benefit under the Railroad Unemployment Insurance
             Act.

             6331(h)(3) Increase in Levy for certain payments. Paragraph (1) shall be
             applied by substituting "100 percent" for "15 percent" in the case of any
             specified payment due to avendor of property, goods, or services sold or
             leased to the Federal Government and by substituting "100 percent" for "15
             percent" in the case of any specified payment due to a Medicare provider or
             supplier under title XVIII of the Social Security Act.

      26 U.S.C. §7421. Prohibition of Suits to Restrain Assessment or Collection. [For
      tax years prior to 2018]


   (a) TAX. Except as provided in sections 6015(e), 6212(a) and (c), 6213(a), 6225(b),
   6246(b), 6330(e)(1), 6331(i), 6672(c), 6694(c), 7426(a) and (b)(1), 7429(b), and 7436,
   no suit for the purpose of restraining the assessment or collection of any tax shall be
   maintained in any court by any person, whether or not such person is the person
   against whom such tax was assessed.

28 U.S. C. §1346 - United States as defendant

   (a) The district courts shall have original jurisdiction, concurrent with the United
   States Court of Federal Claims, of:

      (1) Any civil action against the United States for the recovery of any internal-
      revenue tax alleged to have been erroneously or illegally assessed or collected, or
      any penalty claimed to have been collected without authority or any sum alleged
      to have been excessive or in any manner wrongfully collected under the internal-
      revenue laws;

      (2) Any other civil action or claim against the United States, not exceeding
      $10,000 in amount, founded either upon the Constitution, or any Act of
      Congress, or any regulation of an executive department, or upon any express or
      implied contract with the United States, or for liquidated or unliquidated damages
      in cases not sounding in tort, except that the district courts shall not have
      jurisdiction of any civil action or claim against the United States founded upon
      any express or implied contract with the United States or for liquidated or
      unliquidated damages in cases not sounding in tort which are subject to sections

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      7104(b)(1) and 7107(a)(1) of title 41. For the purpose of this paragraph, an express
      or implied contract with the Army and Air Force Exchange Service, Navy
      Exchanges, Marine Corps Exchanges, Coast Guard Exchanges, or Exchange
      Councils of the National Aeronautics and Space Administration shall be
      considered an express or implied contract with the United States.

28 U.S.C. §1361 - Action to compel an officer of the United States to perform his duty.

   The district courts shall have original jurisdiction of any action in the nature of
   mandamus to compel an officer or employee of the United States or any agency
   thereof to perform a duty owed to the plaintiff.

42 U.S. Code §402 - Old-age and survivors insurance benefit payments

   (a) Old-age insurance benefits . Every individual who:

      (1) is a fully insured individual (as defined in section 414(a) of this title),

      (2) has attained age 62, and

      (3) has filed application for old-age insurance benefits or was entitled to disability
      insurance benefits for the month preceding the month in which he attained
      retirement age (as defined in section 416(l) of this title),

      shall be entitled to an old-age insurance benefit for each month, beginning with—

      (A) in the case of an individual who has attained retirement age (as defined in
      section 416(l) of this title), the first month in which such individual meets the
      criteria specified in paragraphs (1), (2), and (3), or

      (B) in the case of an individual who has attained age 62, but has not attained
      retirement age (as defined in section 416(l) of this title), the first month throughout
      which such individual meets the criteria specified in paragraphs (1) and (2) (if in
      that month he meets the criterion specified in paragraph (3)) and ending with the
      month preceding the month in which he dies. Except as provided in subsection
      (q) and subsection (w), such individual’s old-age insurance benefit for any month
      shall be equal to his primary insurance amount (as defined in section 415(a) of this
      title) for such month.

                        Treasury Regulations (emphasis added)



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      Treasury Regulation,§301.6331-1. (a)Authority to levy (1)In general. If any
      person liable to pay any tax neglects or refuses to pay the tax within 10 days after
      notice and demand, the district director to whom the assessment is charged (or,
      upon his request, any other district director) may proceed to collect the tax by
      levy. The district director may levy upon any property, or rights to property,
      whether real or personal, tangible or intangible, belonging to the taxpayer. The
      district director may also levy upon property with respect to which there is a lien
      provided by section 6321 or 6324 for the payment of the tax. For exemption of
      certain property from levy, see section 6334 and the regulations thereunder. As
      used in section 6331 and this section, the term "tax" includes any interest,
      additional amount, addition to tax, or assessable penalty, together with costs and
      expenses. Property subject to a Federal tax lien which has been sold or otherwise
      transferred by the taxpayer may be seized while in the hands of the transferee or
      any subsequent transferee. However, see provisions under sections 6323 and
      6324(a)(2) and (b) for protection of certain transferees against a Federal tax lien.
      Levy may be made by serving a notice of levy on any person in possession of, or
      obligated with respect to, property or rights to property subject to levy, including
      receivables, bank accounts, evidences of debt, securities, and salaries, wages,
      commissions, or other compensation. A levy on a bank reaches any interest that
      accrues on the taxpayer's balance under the terms of the bank's agreement with the
      depositor during the 21-day holding period provided for in section 6332(c). Except
      as provided in § 301.6331-1(b)(1) with regard to a levy on salary or wages, a levy
      extends only to property possessed and obligations which exist at the time of the
      levy. Obligations exist when the liability of the obligor is fixed and
      determinable although the right to receive payment thereof may be deferred until
      a later date. For example, if on the first day of the month a delinquent taxpayer
      sold personal property subject to an agreement that the buyer remit the purchase
      price on the last day of the month, a levy made on the buyer on the 10th day of the
      month would reach the amount due on the sale, although the buyer need not satisfy
      the levy by paying over the amount to the district director until the last day of the
      month. Similarly, a levy only reaches property in the possession of the person
      levied upon at the time the levy is made together with interest that accrues during
      the 21-day holding period provided for in section 6332(c). For example, a levy
      made on a bank with respect to the account of a delinquent taxpayer is satisfied if
      the bank surrenders the amount of the taxpayer's balance at the time the levy is
      made. The levy has no effect upon any subsequent deposit.


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                                         ARGUMENT

                                          Introduction

        This case is about whether the Internal Revenue Service can continue to levy on

 100% of Plaintiff’s future Social Security benefits in 2018, contrary to 26 U.S.C. 6331(h)

 (on page iii herein). §6331(h) limits continuous levies of Social Security benefits to 15%

 of the monthly benefits.

                                       The Tax Liability

        Plaintiff, Edward Holland, Jr. (“Holland”) owes over $19 million in delinquent

 taxes. $6.4 million of the delinquency is tax and the rest is penalties and interest.

 Collection of that tax liability is the subject matter of another federal lawsuit in the

 Eastern District of Michigan, Southern Division (Case No. 2:13-CV-10082-MOB-

 MKM). The underlying premise of that lawsuit is that Holland does not have assets with

 which he can pay his tax liability.

                                    Two Types of Levies

                            Continuous and Non-Continuous Levies

        Ten days after a taxpayer receives a notice of demand for payment and does not

 pay his or her taxes, the government has the power to levy upon all property belonging to

 the taxpayer or upon which there is a lien. 26 U.S.C. §6331(a) (on page ii herein). There

 are two types of levies under §6331. One type of levy applies to “property possessed and

 obligations existing” at the time of the levy. See §6331(b) (on page iii). The other type of

 levy is a continuous levy that covers future obligations to a taxpayer occurring after the

 date of the levy. The tax law provides for only two forms of continuous levies: (1) one
                                                1
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 on wages under §6331(e); and (2) one upon certain specified monthly payments like

 pensions and non means tested government benefits under §6331(h). Non means tested

 government benefits include Social Security benefits. §6331(h)(2)(A).

        Both types of continuous levies have limitations. Wages subject to a continuous

 levy are exempt in an amount equal to the standard deduction plus exemptions divided by

 52. See §6334 (d)(2). Social Security benefits subject to a continuous levy are limited to

 15% of the monthly payment. 6331(h)(1) (on page iii). The Social Security

 Administration is currently sending 100% of Mr. Holland’s Social Security benefits to

 the Internal Revenue Service every month. (Par. 1 of Complaint Dkt#1). Those payments

 to the IRS appear to be the result of a single Notice of Levy sent in 2012.

                                The Prior Notice Requirement

        Notices of levy have prior notice requirements under §6331(d). (“Levy may be

 made under subsection (a) upon the salary or wages or other property of any person with

 respect to any unpaid tax only after the Secretary has notified such person in writing of

 his intention to make such levy.”) A levy is supposed to be preceded for 30 days by a

 “notice of intent to levy” 26 C.F.R.Treas. Reg. § 301.6331-2 . The government has the

 authority under §6331(a) to make a single levy on 100% of a single monthly Social

 Security benefit. (See Government’s Brief, n. 3 at page 8 therein). Serving a non-

 continuous Notice of Levy but still collecting 100% of future monthly Social Security

 benefits, circumvents the procedural notice requirements that the government would have

 if it collected 100% of benefits by levying on a single monthly benefit. The 30 day prior

 notice requirement could create repeating monthly problems with timing of the notice of
                                              2
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 levy, since the Internal Revenue Service can only levy on obligations existing at the time

 of the notice of levy. §26 U.S.C. 6331(b).

                                     No Other Remedy

                             No Installment Payment Agreement

        Mr. Holland has asked this Court to stop the continuous levy on 100% of his

 Social Security benefits. He has no other remedy. The Government could stop the

 continuous levies with an installment payment agreement. §6331(k) forbids the Internal

 Revenue Service from levying during the period of an installment agreement. (“No Levy

 While Certain Offers Pending or Installment Agreement Pending or in Effect.”) A levy

 will be terminated under 26 U.S.C. §6343(a)(1)(C) if “the taxpayer has entered into an

 agreement under section 6159 [26 U.S.C. §6159] to satisfy such liability by means of

 installment payments, unless such agreement provides otherwise.” 26 U.S.C. §6159

 allows the government to accept payments by installment agreement even if the

 agreement does not provide for full payment of the tax: “The Secretary is authorized to

 enter into written agreements with any taxpayer under which such taxpayer is allowed to

 make payment on any tax in installment payments if the Secretary determines that such

 agreement will facilitate full or partial collection of such liability.” (emphasis added).

        The Government has refused to give Mr. Holland an installment agreement

 (Government Motion to Dismiss page 13), possibly because the Justice Department

 mistakenly believes that an installment payment plan, which is customarily based on the

 ability to pay, is unacceptable if it is not expected to achieve full payment of $19 million

 plus interest (See Government’s Motion to Dismiss, n. 5 at page 13). Mr. Holland has
                                               3
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 pled in his Complaint that the Government would not allow him to have an installment

 agreement based upon ability to pay. (See Dkt#1 Complaint par. 2). The Court should

 accept that allegation when considering this Motion to Dismiss. See Tackett v. M & G

 Polymers, USA, LLC, 561 F.3d 478, 481 (6th Cir. 2009) and Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007).

                         No Suit for Refund or Money Damages

       Damages as a remedy under 26 U.S.C. §7433 has been suggested by the

 Government (Government’s Motion to Dismiss page 10). Mr. Holland has no

 remedy for money damages in a court of law. Mr. Holland owes the government

 $19 million. If Mr. Holland did obtain a money judgment against the government,

 it would be seized from the obligor government by the creditor government under

 §6331. No payment by the government will ever be made to Mr. Holland while he

 continues to owe $19 million.

       Similarly, Mr. Holland cannot obtain any monetary relief by suing the

 United States for a refund of illegally seized funds. Mr. Holland is specifically not

 seeking a refund for unlawful seizures (Dkt#1 Complaint paragraph 1). Mr.

 Holland is seeking to terminate the continuous seizures of 100% of his Social

 Security benefits going forward. (Complaint par. 4).

       The lack of any other remedy for Mr. Holland is an irreparable injury. An

 irreparable injury exists if “other relief would be inadequate to remedy the injury”


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 California v. Am. Stores Co., 492 U.S. 1301, 1305 (1989) or if “no fair or

 reasonable redress can be had therefor in a court of law.” Donovan v. Pennsylvania

 Co., 199 U.S. 279, 305 (1905).

                                         Jurisdiction

                                     Irreparable Injury

        The Government’s Motion to Dismiss rests largely on 26 U.S.C. §7421. That

 section of the tax law prevents taxpayers from suing to prevent the payment of their

 taxes. §7421 is not a bar when a taxpayer has no other remedy. That rule has been

 followed repeatedly by the Supreme Court. “[T]he Due Process Clause requires that the

 party whose property is taken be given an opportunity for some kind of predeprivation or

 prompt post-deprivation hearing at which some showing of the probable validity of the

 deprivation must be made. C. I. R. v. Shapiro, 424 U.S. 614, 629 (1976). “[T]he Court

 [Phillips v. Commissioner of Internal Revenue, 283 U.S. 589, 595-596 (1931)]

 unanimously held that the taxing authorities may lawfully seize property for payment of

 taxes in summary proceedings prior to an adjudication of liability where “adequate

 opportunity is afforded for a later judicial determination of the legal rights.” Laing v.

 United States, 423 U.S. 161, 210 (1976). “This is not a case in which an aggrieved party

 has no access at all to judicial review. Were that true, our conclusion might well be

 different.” Bob Jones Univ. v. Simon, 416 U.S. 725, 746, (1974). See also the

 Government’s Motion to Dismiss at page 7. “Congress did not intend the [AIA] to apply




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 to actions brought by aggrieved parties for whom it has not provided an alternative

 remedy.” South Carolina v. Regan, 465 U.S. 367, 378 (1984).

        The government’s continuous levies on Mr. Holland’s Social Security benefits

 leaves Mr. Holland penniless and there is no remedy other than to terminate the illegal

 continuous levies on 100% of his Social Security benefits. The Government claims that

 irreparable injury is not alleged by Mr. Holland, but the absence of any other adequate

 remedy was, in fact, alleged in paragraph 2. e. of the Complaint.

                           Government Will Not Ultimately Prevail

        The anti-injunction provision of §7421 does not apply if the taxpayer seeking

 relief has irreparable injury and if it is clear that under no circumstances could the

 government ultimately prevail. Enochs v. Williams Packing & Nav. Co., 370 U.S. 1, 7

 (1962). If this Honorable Court determines that Mr. Holland has no remedy for the

 illegal continuous seizures of all of his Social Security benefits, then it has jurisdiction to

 determine the primary issue in this case -- whether those continuous seizures are legal.

 “A federal court always has jurisdiction to determine its own jurisdiction.” United States

 v. Ruiz, 536 U.S. 622, 628 (2002). Therefore, if the levy on Social Security is unlawful,

 then the Court should deny the government’s motion to dismiss and it can enjoin the

 enforcement of the 100% levy. Hillyer v. C.I.R., No. 4:CV:92-1757, 1994 WL 240348

 (M.D. Pa. Mar. 30, 1994), aff'd, No. 94-7347, 1995 WL 250365 (3d Cir. Feb. 13, 1995).

        The Government’s Motion to Dismiss correctly notes that a petition for mandamus

 requires the naming of an individual party. As the Government also notes, that

 deficiency may be corrected by naming, for instance, Nancy A. Berryhill, the Acting
                                                6
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 Commissioner of Social Security Administration, and specifically requesting an order to

 direct her to stop making future payments of 100% of the Social Security benefits to the

 Internal Revenue Service. If the Court determines that such payments are illegal, then the

 Commissioner would have a clear duty to stop doing that.

        The failure to name someone is not fatal to Mr. Holland’s Complaint for two

 reasons. The first reason is that mandamus is one basis for jurisdiction (Dkt#1 Complaint

 paragraph 2). Jurisdiction for termination of the continuous levy in paragraph 1 of the

 Complaint is 28 U.S.C. 1346 (a)(2) (on page iv herein). 28 U.S.C. 1356 also gives

 district courts jurisdiction over seizures not within admiralty and maritime jurisdiction,

 and except matters within the jurisdiction of the Court of International Trade. The

 second reason is that “it is not by the office of the person to whom the writ is directed,

 but the nature of the thing to be done that the propriety or impropriety of issuing a

 mandamus, is to be determined.” Marbury v. Madison, 5 U.S. 137, 170 (1803). If the

 Court should determine that joining Acting Commissioner Berryhill is necessary, Mr.

 Holland would ask for leave to do so.

                                     Continuous Levies
                                 on 100% of Social Security
                                     Benefits are Illegal

        The Balanced Budget Act of 1997 amended §6331 to include §6331(h) which

 added continuous levies for pensions and certain government payments that were not

 subject to means testing, such as Social Security payments. Continuous levies on the new

 listed incomes were limited to 15% of the payment. The Committee on the Budget

 Report explained:
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                               Present and Prior Law

                  If any person is liable for any internal revenue
                  tax and does not pay it within 10 days after
                  notice and demand by the IRS, the IRS may
                  then collect the tax by levy upon all property
                  and rights to property belonging to the person,
                  unless there is an explicit statutory restriction
                  on doing so. A levy is the seizure of the person's
                  property or rights to property. Property that is
                  not cash is sold pursuant to statutory
                  requirements. In general, a levy does not apply
                  to property acquired after the date of the levy,
                  regardless of whether the property is held by the
                  taxpayer or by a third party (such as a bank) on
                  behalf of a taxpayer. Successive seizures may
                  be necessary if the initial seizure is insufficient
                  to satisfy the liability. The only exception to
                  this rule is for salary and wages. A levy on
                  salary and wages is continuous from the date it
                  is first made until the date it is fully paid or
                  becomes unenforceable. A minimum exemption
                  is provided for salary and wages. It is computed
                  on a weekly basis by adding the value of the
                  standard deduction plus the aggregate value of
                  personal exemptions to which the taxpayer is
                  entitled, divided by 52. For a family of four for
                  taxable year 1996, the weekly minimum
                  exemption is $325.

                              Explanation of Provision

                  The Act amends the Code to provide that a
                  continuous levy is also applicable to non-means
                  tested recurring Federal payments. This is
                  defined as a Federal payment for which
                  eligibility is not based on the income and/or
                  assets of a payee. For example, Social Security
                  payments, which are subject to levy under
                  present law, would become subject to
                  continuous levy. In addition, the Act provides



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                      that this levy would attach up to 15 percent of
                      any specified payment due the taxpayer. 1

         The Government has argued that continuous levies on Social Security benefits,

 like the one in this case, are not made pursuant to §6331(h) (Government Motion to

 Dismiss, Dkt# 8, p. 3) but, instead, the Government claims the levies are made under

 §6331(a). See Hines v. United States, 658 F. Supp. 2d 139 (D.D.C. 2009) appeal

 dismissed for mootness, Hines v. United States, No. 08-5459, 2009 WL 5252626 (D.C.

 Cir. Nov. 9, 2009). See also the Government’s Motion to Dismiss pages 7-8). For a 26

 U.S.C. §6331(a) levy to be maintained on all future payments of Social Security benefits,

 the future benefits must be obligations of the Social Security Administration “existing at

 the time [of the levy].” (26 U.S.C. §6331(b)(on page iii herein). In order for an

 obligation to be existing at the time of the levy, it must be “fixed and determinable”

 under Treas. Reg. §301.6331-1(a) (on page vi herein).


                                    Fixed and Determinable
         One court has described the phrase “fixed and determinable” as meaning an

 obligation is fixed when “the events which gave rise to the obligation have occurred and

 the amount of the obligation is capable of being determined in the future, the obligation is

 fixed and determinable.” That explanation appeared in a footnote of a case where a

 notice of levy was sent to the person owing money to the taxpayer for sandblasting

 services the taxpayer had provided:


 1
     1997-3 C.B. pp. 218-219

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                       Treasury      Regulation     (C.F.R.)      Section
                       301.6331–1(a)(1) states that an obligation exists
                       only if the liability of the obligor is fixed and
                       determinable. It is the liability which must be
                       fixed and determinable, not the amount of the
                       liability. As long as the events which gave rise
                       to the obligation have occurred and the amount
                       of the obligation is capable of being determined
                       in the future, the obligation is fixed and
                       determinable. It is not necessary that the amount
                       of the obligation be beyond dispute. Reiling v.
                       United States, No. L 76-19, 1977 WL 1244
                       (N.D. Ind. Aug. 24, 1977), United States v.
                       Antonio, No. CIV. 86-1053 ACK, 1991 WL
                       253021, n. 2 at *11 (D. Haw. Sept. 24, 1991).
                       (Emphasis added).
 A “fixed obligation” can be analogized to a chose in action. An obligation is fixed if the

 delinquent taxpayer could have successfully maintained a suit to collect on it. That is to

 say, an obligation exists at the time of the levy if the taxpayer has a legally enforceable

 right to collect on the obligation at the time of the levy. This concept is illustrated in the

 difference between an existing paycheck and wages from future services:

                       Though we shall assume that a salary or
                       wages which have been earned may be made
                       subject to a lien for unpaid taxes and also
                       subject to distraint and levy, the situation in
                       respect to future earnings is quite different.
                       They are contingent upon performance of a
                       contract of service and represent no existing
                       rights of property. U S v. Long Island Drug
                       Co, 115 F.2d 983, 986 (2d Cir. 1940).

        Like future wages, even if an obligation is ultimately paid to a delinquent

 taxpayer, the obligation might not be covered by an earlier notice of levy if the obligation

 did not exist at the time of the notice of levy. One case where that happened was when
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 an attorney owed taxes and had sued his client Morey for fees. After the IRS learned

 about the lawsuit, it served Morey with a notice of levy in June of 1987. Morey did not

 honor the levy and paid the lawsuit settlement to the deceased attorney’s estate in August

 of 1989. The government unsuccessfully sued Morey under 26 U.S.C. §6332 for failing

 to honor the levy. Morey had claimed that, at the time of the levy, he was not obligated

 to the attorney. Morey had alleged in the lawsuit that there was a lack of consideration, a

 failure of performance, mutual mistake of fact, unconscionability and he sought a

 rescission. United States v. Morey, 821 F. Supp. 1438 (W.D. Okla. 1993).

        The issue in the Morey case was “whether, at the time the levy was served on

 Morey, Morey was obligated [to the attorney] with respect to property or rights to

 property subject to the levy.” The court held that the “[attorney’s] rights were not vested

 on the date of the levy” and because of that, the levy did not attach to the future payment:

                      The court holds that the [attorney] taxpayer held
                      a chose in action to which, upon levy, the IRS
                      succeeded. Any obligation arising thereunder
                      was not vested, or fixed and determinable on
                      the date of levy. Therefore, defendant Morey
                      was not “in possession of (or obligated with
                      respect to) property or rights to property,” 26
                      U.S.C.A. § 6332(a) (West 1989 & Supp.1992),
                      on the date of levy. His subsequent
                      nonsurrender did not violate the statute. United
                      States v. Morey, 821 F. Supp. 1438, 1442 (W.D.
                      Okla. 1993).

        A contract obligation to pay money is “fixed” when performance by the taxpayer

 has occurred. United States v. Hemmen, 51 F.3d 883, 890 (9th Cir. 1995). Sometimes, the

 question is how much performance is necessary? In the Tull case, the Ninth Circuit


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 reversed a lower court decision that held a levy on auction proceeds was valid even

 though the levy had been made before the auction had occurred. Tull v. U.S., 69 F3d 394

 (9th Cir. 1995) rvsng 848 FSupp 1466 (USDC ED CA (1994) . The issue over the levy in

 Tull was whether sufficient pre auction performance had occurred upon which a lawsuit

 could be maintained.

        At the time the Notice of Levy in Tull was served, the auction contract was open

 ended as to what was to be sold. The lower court held that advertising the auction and

 cleaning the equipment was sufficient partial performance to make the contract

 enforceable. The Ninth Circuit reversed, saying that the obligation “to sell some as yet

 undetermined amount of property for an as yet undetermined price to as yet undetermined

 buyers” was not fixed and determinable.

        Some courts have interpreted “fixed’ to mean vested. This happened in In Re

 John Mill Hawn, 149 BR 450 (Bankr. S.D. Tex. 1993), aff'd in part sub nom. Hawn v.

 Am. Nat. Bank., No. CIV. A. C-93-102, 1996 WL 142521 (S.D. Tex. Jan. 23, 1996). In

 Hawn, the taxpayer (Hawn) had assigned his mineral rights to the bank as security for a

 loan. The IRS served the bank with a levy in in 1987. At the time of receiving the notice

 of levy, the bank had no funds belonging to Hawn. Three years later, the bank had

 received funds over and above the amount of the loan. The bank paid the surplus of

 $131,679.00 out to a group that included Hawn’s ex-wife, a creditor of Hawn, some of

 Hawn’s expenses, and Hawn. The IRS sued the bank for the money. The Hawn court

 found that the bank was not liable for failing to honor the levy. The court said:



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                      The right to receive revenues that might be
                      generated from future production from Hawn's
                      property was not a vested, fixed or determinable
                      right to future income existing at the time of the
                      levy. Rather, that income stream represented a
                      purely contingent right to receive certain
                      income in the future. That right was contingent,
                      among other things, on (1) whether minerals
                      were produced, (2) the amount of such
                      production, (3) whether and when the minerals
                      were sold, (4) the sale price for the minerals,
                      and (5) the expenses incurred in generating such
                      production. Since the right to receive future
                      income from production and sale of oil thus was
                      a contingent, non-vested and non-determinable
                      right, the IRS levy could not reach it. In re
                      Hawn, 149 B.R. 450, 457 (Bankr. S.D. Tex.
                      1993), aff'd in part sub nom. Hawn v. Am. Nat.
                      Bank., No. CIV. A. C-93-102, 1996 WL
                      142521 (S.D. Tex. Jan. 23, 1996).
 In Hawn, payment of the mineral royalties were subject to variables that affected the

 amount and timing of mineral royalties and those variables prevented the royalties from

 being vested at the time of the notice of levy.

                      Future Social Security Payments Are Not Vested

        The Hines case was the first district court case to hold that Social Security

 payments are fixed and determinable. The Hines court said this about that:

                      The United States argues that because the IRS
                      levied plaintiff's Social Security benefit
                      payments, to which plaintiff had an existing
                      right at the time the levy attached, the levy was
                      appropriate under Section 6331(a), irrespective
                      of the limitations of Section 6331(h). Plaintiff's
                      right to receive periodic payments for his Social
                      Security retirement benefits was a vested
                      interest. See 42 U.S.C. §402(a); Schmiedigen v.
                      Celebrezze,      245     F.Supp.     825,     827

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                      (D.D.C.1965). The amount of benefits are
                      calculable—they are based on earnings
                      averaged over plaintiff's lifetime and
                      determinable based upon a complex formula.
                      See 42 U.S.C. §§402 et seq. The Social Security
                      Administration's ongoing payment of a specific
                      amount of retirement benefits to plaintiff every
                      month therefore was an “obligation[ ] existing
                      at the time” the levies attached under 26 U.S.C.
                      § 6331(b). The levy appropriately could have
                      been issued under Section 6331(a), and
                      therefore was not limited by the fifteen percent
                      cap. Hines v. United States, 658 F. Supp. 2d
                      139, 146 (D.D.C. 2009).
 The Schmiedigen reference above is to language in that case which indicated that a

 person who has contributed part of his or her salary to Social Security has “a vested right

 to the payments prescribed by the statutory scheme.” The statutory scheme for Social

 Security benefits does not give Mr. Holland a vested right to future benefits in 2012.

        Under 42 U.S.C. §402 (a) (on page v) payments of Social Security are subject to

 two conditions precedent: (1) the recipient must have applied for benefits (§402(a)(3)),

 Coy v. Folsom, 228 F 2d. 276, 278-279 (3rd Cir. 1955); and (2) the recipient must live the

 full month of the month preceding payment. Under §402(a) a person “shall be entitled to

 an old-age insurance benefit for each month, beginning with” the first month after a fully

 insured individual who has attained age 62 and has filed application for benefits “and

 ending with the month preceding the month in which he dies.”

        Social Security is not one big obligation paid in monthly installments. It is a series

 of distinct separate payments, each of which is contingent upon the recipient surviving

 the preceding month. A person receiving Social Security has no present right to


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 payments beyond the current month in which he or she is alive. Future benefits are not

 assignable or transferable. Under 42 U.S.C. §407(a) of the Social Security Act, “The

 right of any person to any future payment under this title shall not be transferable or

 assignable, at law or in equity.” A special code section had to be enacted so that the

 Internal Revenue Service could levy on Social Security benefits. See 26 U.S.C.

 §6334(c).

        A levy under §6331(a) should not attach to any Social Security payments beyond

 the current month because the Social Security Administration has no existing obligation

 to make future payments at the time of the levy. Moreover, Mr. Holland has no legally

 enforceable right to collect Social Security benefits for any month other than the current

 month.

        The Government cites an unpublished non-precedential case (Bowers v.

 United States, 498 F. App’x 623 (7th Cir. 2012)) at page 8 of its brief as evidence

 that there are some circumstances where the Government could prevail. The test

 of whether the Government will prevail is if this Court finds that, despite §6331(h),

 the Government should be allowed to take be take 100% of Mr. Holland’s social

 security benefits based on the legal fiction that in the year 2012 the Social Security

 Administration had owed Mr. Holland his Social Security benefits for the years

 2012 – 2018.

        The Government’s Motion to Dismiss also relies on Wessel v. United States (In re

 Wessel), 161 B.R. 155, 159 (Bankr. D.S.C. 1993) for the proposition that the precondition

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 of survivorship does not prevent future Social Security benefits from currently vesting (at

 page 9). The Wessel court addressed a lien on a lifetime annuity. The Government’s

 reliance on Wessel is misplaced because it is a lien case. Liens under 26 U.S.C. §6321

 apply to all property belonging to a taxpayer regardless of whether a future interest in

 such property is subject to a condition precedent. There is no “existing obligation

 requirement for a tax lien under §6321.

        The issue in Wessel was whether the tax lien under 26 U.S.C. §6321 applies to an

 annuity if staying alive is a condition of receiving the payments. “Being alive does not

 create the property right; rather, death terminates this previously created property right in

 the annuity.” (Government’s Motion to Dismiss at page 9). The issue in the case at bar is

 a different issue. The issue here is whether an obligation subject to a condition precedent

 is fixed so that Edward Holland could sue in 2012 and maintain a suit for his future

 Social Security benefits.

        The government could have a lien on Social Security payments under Wessel and

 still be subject to the 15% limitation on a continuous levy. That is what happened in In

 re Anderson, 250 B.R. 707 (Bankr. D. Mont. 2000). In that case, the government argued

 it had a tax lien on Social Security payments for a delinquent taxpayer who had filed

 bankruptcy after having qualified for Social Security benefits. A delinquent taxpayer can

 discharge his or her income tax debt in bankruptcy.2 In Anderson, the bankruptcy judge


 2
   Income taxes are dischargeable in bankruptcy for tax years: (1) that had a filing due
 date of more than three years before the bankruptcy (11 U.S.C. §507(a)(8)(A)(i)); (2)
 that had been filed for more than two years before the bankruptcy (11 U.S.C. §523
 Cont’d…
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 held that that there was a lien on Social Security benefits that survived bankruptcy, even

 if the tax liability has been discharged, but the judge also held that the levy payments on

 future Social Security benefits was limited to 15% under §6331(h) (at 711). The

 Anderson case highlights the importance of §6331(h). If the government is allowed to

 take 100% of Social Security benefits then, senior citizens who are living off of their

 Social Security benefits will derive no relief from filing bankruptcy.

        Another area where taxpayers will be denied relief if Social Security benefits are

 fixed and determinable is under the ten year statute of limitations for collection of taxes.

 Sometimes, delinquent taxpayers who are in over their head can get relief from the ten

 year collection statute of limitations under 26 U.S.C. §6502(1)(1). After ten years, the

 tax liability expires. In 1994, the Internal Revenue Service added regulation 26 C.F.R.

 301.6343-1(b)(1)(ii), which, like a lien in bankruptcy, continues collection on payments

 of Social Security beyond the ten year statute of limitations if the payments are fixed and

 determinable:

                      (ii) Special situations.—A continuing levy
                      on salary or wages made under section
                      6331(e) must be released at the end of the
                      period of limitations in section 6502.
                      However, a levy on a fixed and determinable
                      right to payment which right includes
                      payments to be made after the period of
                      limitations expires does not become
                      unenforceable upon the expiration of the
                      period of limitations and will not be released

 (a)(1)(b)(ii) and, (3) if there is an adjustment to the tax, that adjustment has been assessed
 for at least 240 days prior to the bankruptcy (11 U.S.C. §507(a)(8)(A)(ii).

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                     under this condition unless the liability is
                     satisfied.3

 Calling Social Security benefits fixed and determinable creates an anomaly after a

 bankruptcy discharge and after the expiration of the ten year statute for collection.

 A senior citizen can lose all of their Social Security benefits because they used to

 owe taxes.

       A reasonable person could conclude that calling Social Security benefits

 “fixed and determinable” is a loophole to circumvent: (1) the 15% limitation under

 §6331(h); (2) the discharge of debts in bankruptcy; and (3) the statute of

 limitations for collection. Another way to look at it is that calling Social Security

 benefits “fixed and determinable” is a slippery slope that has already resulted in a

 creeping erosion of taxpayer rights in bankruptcy and under the statute of

 limitations for collection. The consequences of tax liens on Social Security

 benefits after Bankruptcy and the continued collection of Social Security benefits

 after the statute of limitations on collection has expired, are two reasons why

 Congress would have required a 15% limit on continuous levies of Social Security

 benefits. Anderson, supra, should be followed on the 15% limitation under

 §6331(h) for that reason.



 3
  Effective date December 30, 1994. Treasury Decision 8587, T.D. TD8587 Internal
 Revenue Service.

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       An obligation to pay money is not “fixed” if it is subject to a condition

 precedent because a lawsuit cannot be maintained until the condition has been

 satisfied. For example, a taxpayer seeking a refund of their taxes under 28 U.S.C.

 1346(a)(1) (on page iv herein) must pay the entire amount of the tax first before

 filing suit for a refund of any partial payment. “[F]ull payment of an assessed tax

 [is] a condition precedent to the right to sue the collector for a refund.” Flora v.

 United States, 357 U.S. 63, 68 (1960). If that condition precedent is not satisfied

 the case will be dismissed. (id). Similarly, if Mr. Holland were to sue for payment

 of his Social Security benefits for any future month, the government would have

 the case summarily dismissed.

       A notice of levy served prior to 2018 will not extend to Social Security benefits in

 2018 because those benefits are not “obligations existing at the time thereof” under

 §6331(b). To collect 100% of the Social Security benefit in 2018, the Internal Revenue

 Service must serve a §6331(a) Notice of Levy before a benefit payment is due and it must

 serve the required notice not less than 30 days before the levy under §6331(d)(2).

 Otherwise, Congress has provided that the government may only use a continuous levy

 on 15% of the Social Security benefits.


                                     CONCLUSION

       This suit has been brought because it is unreasonable for the Government to

 deny Mr. Holland an installment payment agreement based on ability to pay and

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 then turn around and strip him of his only source of income. Congress did not

 intend that result. Congress authorized the Treasury Department under §6159 to

 enter into installment plans which make partial collection of the liability. Under

 §6331(h), Congress limited continuous levies on Social Security benefits to 15% of

 the benefits. Plaintiff requests that this Honorable Court deny the Government’s

 Motion to Dismiss and, in so doing, rule that the Government may not engage in a

 continuous levy of 100% of future monthly Social Security benefits.



 Date: March 5, 2018                        Respectfully submitted,

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                                   Certificate of Service

       I hereby certify that on March 5, 2018, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system and that I served it via the

 ECF system on Defendant’s counsel.

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